        Case 7:23-cv-08262-PMH Document 105 Filed 06/10/24 Page 1 of 1




                INSTITUTE FOR CONSTITUTIONAL ADVOCACY AND PROTECTION
                          GEORGETOWN UNIVERSITY LAW CENTER

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June 10, 2024

Via ECF

The Honorable Philip M. Halpern
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

Re: Students for Fair Admissions v. United States Military Academy at West Point, et al., No.
                                    23 Civ. 8262 (PMH)

Dear Judge Halpern,

        The Institute for Constitutional Advocacy and Protection (ICAP) represents Amici 107
West Point Graduates in this matter. We write to inform the Court that Amy L. Marshak is no
longer affiliated with ICAP and to request that she be permitted to withdraw her appearance in
this action. I will continue to serve as counsel in this case.


                                                   Respectfully submitted,



                                                   /s/ Ben Gifford


                                                   Cc: Counsel for all parties, by ECF
